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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

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In re:                                                            Chapter 11

BED BATH & BEYOND INC., et al.,1                                  Case No. 23-13359 (VFP)

                                  Debtors.                        (Jointly Administered)


    GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY AND
     DISCLAIMERS REGARDING POST-CONFIRMATION QUARTERLY REPORT
                 FOR THE QUARTER ENDED MARCH 31, 2025

         Michael Goldberg, solely in his capacity as the Plan Administrator (the “Plan
Administrator”) to 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.)2 and
affiliated debtors (the “Debtors”) has filed the attached post-confirmation report (the “PCR”) for
the quarter January 1, 2025 – March 31, 2025 (the “Reporting Period”). These Global Notes
apply to the PCRs filed on behalf of each Debtor listed on Exhibit A. The Plan Administrator
prepared the PCR and these Global Notes with the assistance of and in reliance on his advisors,


1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby.

2    Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which
     was filed with the State of New York Department of State on September 21, 2023, the name of the entity
     formerly known as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No.
     230921001833 DOS ID 315602].



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his professionals and certain of the Debtors’ retained employees.3 The PCR was prepared solely
for the purpose of complying with the post-confirmation quarterly reporting requirements
established by the United States Trustee Program (see https://www.justice.gov/ust/chapter-11-
operating-reports). The PCR should not be relied upon by any persons for any information
concerning current or future financial conditions or events relating to the Debtors or their estates.

        The financial information contained in the PCR is preliminary, unaudited, limited in
scope, and is not prepared in accordance with accounting principles generally accepted in the
United States of America nor in accordance with other applicable non-bankruptcy law. In
preparing the PCR, the Plan Administrator relied on financial data from the limited books and
records of the Debtors available to him during the preparation of the PCR, as well as certain
filings on the docket in the chapter 11 cases. Although the Plan Administrator made
commercially reasonable efforts to ensure the accuracy and completeness of the PCR,
inadvertent errors or omissions may exist.4 The Plan Administrator reserves the right to amend
and supplement the PCR as may be necessary or appropriate.

          Part I: Summary of Post-Confirmation Transfers

       1. Cash Disbursements: The Plan Administrator did not make any cash disbursements
during the Reporting Period.

       2. Non-Cash Securities Transferred: The Plan Administrator did not transfer any non-
cash securities (e.g., stocks or bonds) during the Reporting Period.

       3. Other Non-Cash Property Transferred: The Plan Administrator did not transfer any
other non-cash property (e.g., real estate or personal property) during the Reporting Period.

       Part II: Preconfirmation Professional Fees and Expenses: Payments with respect to
pre-confirmation professional fees and expenses are reported in the PCR filed in the case of
20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.) (the “Lead Debtor”). This
Debtor did not make any payments of pre-confirmation professional fees and expenses during
the Reporting Period.

          Part III: Recoveries to Holders of Claims and Interests Under Confirmed Plan:

          “Total Anticipated Payments Under Plan” are unknown at this time and will depend on,

3    The Plan Administrator was appointed pursuant to the Second Amended Joint Chapter 11 Plan of Bed Bath &
     Beyond Inc. and Its Debtor Affiliates [Docket No. 2160] (as amended, the “Plan”), which was confirmed on
     September 14, 2023. See Findings of Fact, Conclusions of Law, and Order (I) Approving the Disclosure
     Statement on a Final Basis and (II) Confirming the Second Amended Joint Chapter 11 Plan of Bed Bath &
     Beyond Inc. and its Debtor Affiliates [Docket No. 2172] (the “Confirmation Order”). On September 29, 2023,
     the effective date of the Plan occurred (the “Effective Date”). As of the Effective Date, the Plan Administrator
     is authorized to implement the Plan and any applicable orders of the Bankruptcy Court.
4    The Plan Administrator and his agents, employees, advisors, attorneys, and other professionals, as applicable,
     do not guarantee or warrant the accuracy or completeness of the data that is provided in this PCR.



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among other factors: (i) continuing claims reconciliation efforts and the resultant final allowed
amount of such claims; (ii) the amount of collected receipts from litigation and liquidation of
other miscellaneous assets; and (iii) the duration of the wind-down process and the resulting
cumulative operating expenses of the estates. Accordingly, a figure of “$0” has been entered in
the PCR in the columns “Total Anticipated Payments Under Plan,” although all distributions
made during the current Reporting Period and on a cumulative basis are listed in Part 3.

        The claims reconciliation process is ongoing and the Plan Administrator is not able to
determine at this time the total amount of claims that will be allowed. As such, reporting with
respect to the anticipated total amount of “Allowed Claims” of all priority levels (or
administrative or general unsecured levels) is not presently possible. Reported in Part 3 of the
PCR under the heading “Allowed Claims” is information regarding claims (i) that are allowed
and not subject to further objection and (ii) as to which distributions were sent prior to the close
of the Reporting Period. Claims that are currently disputed or that have not yet been reconciled,
or whose holders have not provided requested tax identification documentation, are not reflected
in the PCR as Allowed Claims or otherwise and, therefore, the final Allowed Claims pool likely
will be higher than as reflected herein. As and when disputed claims (including unreconciled
claims) become Allowed, they will be added to the Allowed Claims total. Pursuant to the Plan,
no distributions will be made on account of equity interests.

          Part IV: Questionnaire:

         The Plan Administrator cannot currently anticipate, with any degree of certainty, when he
will file an application for a Final Decree closing the Debtors’ chapter 11 cases. Accordingly, the
date of December 31, 2025 is being used merely a placeholder. This actual date of filing an
application for a Final Decree depends on many factors, including but not limited to the duration
of litigation and other asset collection and liquidation efforts, and the resolution and
reconciliation of claims and the wind down process. The Plan Administrator reserves the right to
amend or extend this tentative projected date.




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                                              Exhibit A


 Alamo Bed Bath & Beyond Inc.                             23-13360
 bed ‘n bath Stores Inc.                                  23-13396
 Bed Bath & Beyond of Annapolis, Inc.                     23-13366
 Bed Bath & Beyond of Arundel Inc.                        23-13367
 Bed Bath & Beyond of Baton Rouge Inc.                    23-13368
 Bed Bath & Beyond of Birmingham Inc.                     23-13369
 Bed Bath & Beyond of Bridgewater Inc.                    23-13370
 Bed Bath & Beyond of Davenport Inc.                      23-13372
 Bed Bath & Beyond of East Hanover Inc.                   23-13373
 Bed Bath & Beyond of Edgewater Inc.                      23-13374
 Bed Bath & Beyond of Falls Church, Inc.                  23-13375
 Bed Bath & Beyond of Fashion Center, Inc.                23-13376
 Bed Bath & Beyond of Frederick, Inc.                     23-13377
 Bed Bath & Beyond of Gaithersburg Inc.                   23-13378
 Bed Bath & Beyond of Gallery Place L.L.C.                23-13379
 Bed Bath & Beyond of Knoxville Inc.                      23-13380
 Bed Bath & Beyond of Lexington Inc.                      23-13381
 Bed Bath & Beyond of Lincoln Park Inc.                   23-13382
 Bed Bath & Beyond of Louisville Inc.                     23-13383
 Bed Bath & Beyond of Mandeville Inc.                     23-13384
 Bed, Bath & Beyond of Manhattan, Inc.                    23-13397
 Bed Bath & Beyond of Opry Inc.                           23-13385
 Bed Bath & Beyond of Overland Park Inc.                  23-13386
 Bed Bath & Beyond of Palm Desert Inc.                    23-13387
 Bed Bath & Beyond of Paradise Valley Inc.                23-13388
 Bed Bath & Beyond of Pittsford Inc.                      23-13389
 Bed Bath & Beyond of Portland Inc.                       23-13390
 Bed Bath & Beyond of Rockford Inc.                       23-13391
 Bed Bath & Beyond of Towson Inc.                         23-13392
 Bed Bath & Beyond of Virginia Beach Inc.                 23-13393
 Bed Bath & Beyond of Waldorf Inc.                        23-13394
 Bed Bath & Beyond of Woodbridge Inc.                     23-13395
 Buy Buy Baby of Rockville, Inc.                          23-13398
 Buy Buy Baby of Totowa, Inc.                             23-13399
 BWAO LLC                                                 23-13401
 Chef C Holdings LLC                                      23-13402
 Decorist, LLC                                            23-13403
 Deerbrook Bed Bath & Beyond Inc.                         23-13404
 Harmon of Brentwood, Inc.                                23-13405
 Harmon of Caldwell, Inc.                                 23-13406


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 Harmon of Carlstadt, Inc.                            23-13407
 Harmon of Franklin, Inc.                             23-13408
 Harmon of Greenbrook II, Inc.                        23-13409
 Harmon of Hackensack, Inc.                           23-13410
 Harmon of Hanover, Inc.                              23-13411
 Harmon of Hartsdale, Inc.                            23-13412
 Harmon of Manalapan, Inc.                            23-13413
 Harmon of Massapequa, Inc.                           23-13414
 Harmon of Melville, Inc.                             23-13415
 Harmon of New Rochelle, Inc.                         23-13416
 Harmon of Newton, Inc.                               23-13417
 Harmon of Old Bridge, Inc.                           23-13418
 Harmon of Plainview, Inc.                            23-13419
 Harmon of Raritan, Inc.                              23-13420
 Harmon of Rockaway, Inc.                             23-13421
 Harmon of Shrewsbury, Inc.                           23-13422
 Harmon of Totowa, Inc.                               23-13423
 Harmon of Wayne, Inc.                                23-13424
 Harmon of Westfield, Inc.                            23-13425
 Harmon of Yonkers, Inc.                              23-13426
 Harmon Stores, Inc.                                  23-13427
 Of a Kind, Inc.                                      23-13429
 One Kings Lane LLC                                   23-13430
 San Antonio Bed Bath & Beyond Inc.                   23-13431
 Springfield Buy Buy Baby, Inc.                       23-13432




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